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                                                                   EXHIBIT A
                                       Compensation By Category – First Interim Compensation Period
                                                 First Monthly       Second Monthly        Third Monthly       Fourth Monthly
                                                                                                                                          Totals
                                                  Application          Application          Application          Application
                                              Hours     Amount      Hours    Amount      Hours    Amount      Hours    Amount     Hours      Amount
B110 Case Administration                      19.60   $9,792.50     26.20   $14,275.00   12.50    $6,711.00   11.10   $5,191.00   69.40     $35,969.50
B120 Asset Analysis and Recovery              4.80    $3,816.00       -         -        1.70     $1,351.50     -         -       6.50       $5,167.50
B130 Asset Disposition                        78.40   $42,605.00    8.50    $4,899.00    1.30     $499.50     10.00   $5,572.00   98.20     $53,575.50
B140 Relief from Stay/Adequate Protection
Proceedings                                     -         -         3.80    $2,522.00      -          -         -         -       3.80       $2,522.00

B150 Meetings/Communications with
Committee and/or Creditors                    15.60   $11,149.50    15.10   $11,342.50   4.90     $3,787.50   2.90    $2,229.00   38.50     $28,508.50

B160 Retention Applications (MJ)              6.00    $3,395.00     4.10    $1,772.00      -          -       0.60    $210.00     10.70      $5,377.00
B165 Retention Applications (Others)          13.20   $7,639.00     8.70    $4,939.50    0.20     $159.00     1.00    $350.00     23.10     $13,087.50
B170 Fee Applications (MJ)                      -         -         4.60    $1,160.00    15.20    $5,059.00   7.60    $3,698.50   27.40      $9,917.50
B175 Fee Applications (Others)                  -         -         0.30     $238.50     13.40    $7,846.50   9.20    $4,820.50   22.90     $12,905.50
B185 Assumption/Rejection of Leases and
Contracts                                     0.20     $159.00        -         -        0.20     $159.00     3.20    $1,232.00   3.60       $1,550.00

B190 Other Contested Matters (excluding
assumption/rejection motions)                 26.70   $17,071.50    6.60    $4,314.00    19.10   $14,100.50     -         -       52.40     $35,486.00

B196 Litigation                                 -         -           -         -        4.70     $3,024.50     -         -       4.70       $3,024.50
B220 Employee Benefits/Pensions                 -         -         21.30   $9,463.00    6.20     $4,569.50     -         -       27.50     $14,032.50
B240 Tax Issues                               2.40    $1,908.00       -         -          -          -         -         -       2.40       $1,908.00
B310 Claims Administration and Objections       -         -         0.90     $715.50       -          -       2.90    $1,311.00   3.80       $2,026.50
B320 Plan and Disclosure Statement            8.50    $6,381.00     34.70   $26,158.50   9.40     $7,339.50   5.60    $3,063.00   58.20     $42,942.00


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                                             First Monthly        Second Monthly         Third Monthly       Fourth Monthly
                                                                                                                                          Totals
                                              Application           Application           Application          Application
                                          Hours     Amount       Hours    Amount       Hours    Amount      Hours    Amount      Hours       Amount
B430A Court Hearings: Attendance and
Preparation                                 -           -         4.70    $3,435.00    0.70     $515.50       -         -         5.40       $3,950.50

Totals:                                   175.40   $103,916.50   139.50   $85,234.50   89.50   $55,122.50   54.10   $27,677.00   458.50    $271,950.50




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                                               Timekeeper Summary – First Interim Compensation Period

                                                               First Monthly         Second Monthly           Third Monthly        Fourth Monthly
                                                                Application            Application             Application           Application               Totals

Timekeeper                      Position                 Hours        Amount       Hours         Amount      Hours    Amount      Hours   Amount      Hours       Amount
Carl N. Kunz        Member of the Delaware Bar since
                    1993; Partner in Bankruptcy          3.60        $3,060.00        -             -          -         -          -         -        3.60       $3,060.00
     III
                    Department since 2004
                    Member of the Delaware Bar since
Eric J. Monzo       2008; Partner in Bankruptcy          34.60       $27,507.00    251.60       $41,022.00   37.70   $29,971.50   10.20   $8,109.00   134.10    $106,609.50
                    Department since 2014

   Brya M.          Member of the Delaware Bar since
                    2005; Partner in Bankruptcy          27.20       $20,400.00     27.50       $20,625.00   20.70   $15,525.00   9.20    $6,900.00   84.60      $63,450.00
   Keilson
                    Department since 2019
                    Member of the Delaware Bar since
                    2015; Partner in the Corporate and
 Eric Hacker                                             24.90       $16,807.50       -             -          -         -          -         -       24.90      $16,807.50
                    Commercial Litigation Department
                    since 2012

   Tara C.          Member of the Delaware Bar since
                    2015; Associate in Bankruptcy        4.70        $3,102.00      3.40        $2,244.00      -         -          -         -        8.10       $5,346.00
   Pakrouh
                    Department since 2023
                    Member of the Delaware Bar since
   Bryan            2010; Counsel in Corporate and
  Townsend          Commercial Litigation Department     15.20       $8,360.00        -             -          -         -          -         -       15.20       $8,360.00
                    since 2012
                    Member of the Delaware Bar since
                    2005; Partner in the Real Estate
Brian M. Ellis      and Tax, Estates and Business        5.90        $2,950.00      6.30        $3,150.00      -         -          -         -       12.20       $6,100.00
                    Transactions Departments since
                    2005
                    Member of the Delaware Bar since
Jason S. Levin      2017; Associate in Bankruptcy        1.40         $630.00         -             -          -         -          -         -        1.40       $630.00
                    Department since 2020
                    Member of the Pennsylvania Bar
Siena B. Cerra      since 2023; Associate in               -             -          25.50       $9,817.50    2.60    $1,001.00    18.80   $7,238.00   46.90      $18,056.50
                    Bankruptcy Department since 2023



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                       Member of the Delaware Bar since
Christopher M.
                       2023; Associate in Bankruptcy      33.40    $12,562.50      2.10      $808.50       -           -           -           -         35.50     $13,333.50
  Donnelly             Department since 20231
 Stephanie A.          Paralegal in Bankruptcy
                                                           7.70     $2,695.00      14.30   $5,005.00    10.40     $3,640.00      4.00     $1,400.00      36.40     $12,740.00
    Lisko              Department since 2020
  Douglas J.           Paralegal in Bankruptcy
                                                          16.80     $5,880.00      6.50    $2,275.00    12.10     $4,235.00     11.30     $3,955.00      46.70     $16,345.00
    Depta              Department since 2020
  Jessica K.
                                                            -           -          2.30      $287.50     6.00      $750.00       0.60       $75.00       8.90       $1,112.50
   Farenski            Case Manager

Totals:                                                   175.40   $103,916.50    139.50   $85,234.50   89.50     $55,122.50    54.10     $27,677.00    458.50    $271,950.50




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           Mr. Donnelly was admitted to the Delaware Bar on September 20, 2023. Prior to his admittance, Mr. Donnelly’s position was as a law clerk in the bankruptcy
          department.

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